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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

   SCANNING TECHNOLOGIES                            §
   INNOVATIONS LLC,                                 §
                                                    §
           Plaintiff,                               §          Case No:9:21cv82504
                                                    §
   vs.                                              §          PATENT CASE
                                                    §
   PEGASUS U.S.A., LLC,                             §          JURY TRIAL DEMANDED
                                                    §
           Defendant.                               §
                                                    §

                                       ORIGINAL COMPLAINT

         Pursuant to F.R.C.P. 15(a)(1)(B), Plaintiff Scanning Technologies Innovations, LLC

  (“Plaintiff” or “STI”) files this Original Complaint against Pegasus, U.S.A., LLC (“Defendant” or

  “Pegasus”) for infringement of United States Patent No. 9,934,528 (hereinafter “the ‘528 Patent”).

                                 PARTIES AND JURISDICTION

         1.      This is an action for patent infringement under Title 35 of the United States Code.

  Plaintiff is seeking injunctive relief as well as damages.

         2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

  Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising under

  the United States patent statutes.

         3.      Plaintiff is a Florida limited liability company with its principal office located at 1

  E Broward Blvd STE 700 Ft Lauderdale FL 33301.

         4.      On information and belief, Defendant is a New Jersey limited liability company

  having a place of business at 7175 Lake Worth Rd., Lake Worth, FL 33467. On information and

  belief, Defendant may be served through its registered agent, Karen Esteves, 13724 Greentree

  Trail, Wellington, FL 33414.



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              5.     On information and belief, this Court has personal jurisdiction over Defendant

  because Defendant has committed, and continues to commit, acts of infringement in this District, has

  conducted business in this District, and/or has engaged in continuous and systematic activities in this

  District.

              6.     On information and belief, Defendant’s instrumentalities that are alleged herein to

  infringe were and continue to be used, imported, offered for sale, and/or sold in this District.

                                                   VENUE

              7.     Venue is proper in this District 28 U.S.C. §1400(b) because Defendant is deemed

  to reside in this district. Alternatively, acts of infringement are occurring in thisDistrict and

  Defendant has a regular and established place of business in this District.

                                         COUNT I
                    (INFRINGEMENT OF UNITED STATES PATENT NO. 9,934,528)

              8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.

              9.     This cause of action arises under the patent laws of the United States and, in

  particular, under 35 U.S.C. §§ 271, et seq.

              10.    Plaintiff is the owner by assignment of the ‘528 Patent with sole rights to enforce

  the ‘528 Patent and sue infringers.

              11.    A copy of the ‘528 Patent, titled “Systems and Methods for Indicating the

  Existence of Accessible Information Pertaining to Articles of Commerce,” is attached hereto as

  Exhibit A.

              12.    The ‘528 Patent is valid, enforceable, and was duly issued in full compliance

  with Title 35 of the United States Code.

              13.    Upon information and belief, Defendant has infringed and continues to infringe

  one or more claims, including at least Claim 1, of the ‘528 Patent by making, using, importing,



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  selling, and/or offering for sale a point of sale system and app covered by one or more claims

  of the ‘528 Patent. Defendant has infringed and continues to infringe the ‘528 Patent directly inviolation

  of 35 U.S.C. § 271.

            14.    Defendant sells, offers to sell, and/or uses an online ordering system including,

  without limitation, the Pegasus Phomello POS point-of-sale system, Phomello app, and any

  similar products (collectively, “Product”), which infringe at least Claim 1 of the ‘528 Patent.

            15.    The Product practices a system (e.g., Pegasus Phomello POS) for indicating an

  existence of a link (e.g., indication of existence of a link obtained by selecting a checkbox of

  “Available in Point of Sale i.e. inventory tracking in POS”) to information pertaining to an

  article of commerce (e.g., products sold through POS). Certain aspects of this element are

  illustrated in the screenshots below and/or those provided in connection with other allegations

  herein.




             16.   The Product comprises a mobile device (e.g., iPad, etc.) running Pegasus

   POS and a portable handheld housing (e.g., Pegasus PS-3256) and a communication

   interfaceconfigured to enable the mobile device to communicate with a communication




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   network (e.g., communication interface of the mobile device enabling communication

   over Internet). Certain aspects of this element are illustrated in the screenshots below and/or

   those provided inconnection with other allegations herein.




         17.       The Product uses a signal processing device (e.g., processor of iPad mobile

  device) which enables the communication network access (i.e. Internet) and includes a visual input

  device (i.e., bar code scanner). Certain aspects of this element are illustrated in the screenshots

  below and/or those provided in connection with other allegations herein.




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        18.       The Product includes a visual input device (Pegasus PS3256_ supported by the

 Pegasus Phomello POS system and affixed within the portable handheld housing. Certain aspects of

 this element are illustrated in the screenshots provided in connection with other allegations herein.




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        19.       The Product comprises digital files (e.g., customized logos, items images, etc.)

 supported by Pegasus Phomello POS and associated with the mobile device (e.g., iPad and

 additional images with high resolution can be added for new products or more details. Certain

 aspects of this element are illustrated in the screenshots below and/or those provided inconnection

 with other allegations herein.




        20.       The Product also includes a cloud server accessed by Pegasus Phomello POS with

 the cloud communication network (e.g., Internet). The cloud server comprises a server database (e.g.,

 cloud database that stores information corresponding to products) configured to store a look-up table

 (e.g., the cloud database) which includes the details (e.g., quantity in stock, barcode- 3434310030179,

 etc.) related to corresponding item (e.g., Light Tuna Sandwich). Certain aspects of this element are

 illustrated in the screenshots below and/or




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 those provided in connection with other allegations herein.




        21.       The look-up (e.g., the cloud database accessed by Pegasus Phomello POS) also

 stores a plurality of information link indicators (e.g., “Available in Point of Sale i.e. inventory

 tracking in POS”) to information pertaining to an article of commerce (e.g., barcode number, quantity

 in stock, etc.). Certain aspects of this element are illustrated in the screenshots below and/or those

 provided in connection with other allegations herein.




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        22.       Each information link indicator configured in Pegasus Phomello POS (e.g.,

 indication of existence of a link obtained by selecting a product name of “Available in Point of Sale

 i.e., inventory tracking in POS”) is associated with a respective symbology (e.g., barcode e.g.,

 3434310030179) and article of commerce (e.g., Light Tuna Sandwich). Certain aspects of this

 element are illustrated in the screenshots below and/or those provided in connection with other

 allegations herein.




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        23.      Each information link indicator (e.g., “Available in Point of Sale i.e. inventory

 tracking in POS” is configured as a status signal indicating the existence or absence of a link to

 information pertaining to a respective article of commerce (e.g., indicating whether link to

 information corresponding to inventory item is available or not). The link is made to the information

 via the communication network (e.g., link to information about the product in POSis accessed using

 the Internet (i.e., in association with the cloud server database). Certain


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 aspects of this element are illustrated in the screenshots below and/or those provided inconnection

 with other allegations herein.




        24.       The visual input device (e.g., barcode reader) accessed by Pegasus Phomello

 POS is configured to scan an image of an article of commerce (e.g., scan barcode associated



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 with a product) and decode the image to obtain a symbology (e.g., decode barcode of the product)

 and forward data from the scanned image to the signal processing device. Certain aspects of this

 element are illustrated in the screenshots below and/or those provided in connection with other

 allegations herein.




        25.       In Pegasus Phomello POS, in response to receiving the symbology (e.g., barcode),

 the system displays the availability (i.e., “YES” in “IN ACTIVE” status) or unavailability of product

 as well as the information link related to the product. The user can see the products with respect to

 their availability/quantity and during the sale the user can track the inventory. Certain aspects of this

 element are illustrated in the screenshots below and/or those provided in connection with other

 allegations herein.




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         26.      The signal processing device accessed by Peagasus Phomello POS determines

 whether or not the link exists without accessing the communication network (e.g., Peagasus

 Phomello POS works in offline mode without accessing the Internet to determine whether or not the

 link exists using the information link indicator (i.e. “inventory tracking in POS”). Certain aspects of

 this element are illustrated in the screenshots below and/or those provided in connection with other

 allegations herein.




         27.      Defendant’s actions complained of herein will continue unless Defendant is enjoined

 by this court.

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         28.        Defendant’s actions complained of herein are causing irreparable harm and

 monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined and

 restrained by this Court.

         29.        Plaintiff is in compliance with 35 U.S.C. § 287.

                                             JURY DEMAND

         23.       Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully

 requests a trial by jury on all issues so triable.

                                         PRAYER FOR RELIEF

         WHEREFORE, Plaintiff asks the Court to:

         (a)        Enter judgment for Plaintiff on this Complaint on all causes of action asserted

         herein;

         (b)        Enter an Order enjoining Defendant, its agents, officers, servants, employees,

 attorneys, and all persons in active concert or participation with Defendant who receive notice of

 the order from further infringement of United States Patent No. 9,934,528 (or, in the

 alternative, awarding Plaintiff a running royalty from the time of judgment going forward);

         (c)        Award Plaintiff damages resulting from Defendant’s infringement in accordance

 with 35 U.S.C. § 284;

         (d)        Award Plaintiff pre-judgment and post-judgment interest and costs; and

         (e)        Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

 law or equity.




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 Dated: December 17, 2021.               Respectfully submitted,


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